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Attorneys for Defendant Home Depot U.S.A., Inc.
i/s/a THE HOME DEPOT, USA
––––––––––––––––––––––––––––––––––––––– x
VINCENT LEPORINO,                                 UNITED STATES DISTRICT COURT
                                                  DISTRICT OF NEW JERSEY
                            Plaintiff(s),
                                                  Docket No. 22-cv-2061
        v.
                                                  PETITION FOR REMOVAL OF
THE HOME DEPOT USA, ABC CORP. I-X and ACTION UNDER 28 U.S.C. §1446(a)
JOHN DOES I-X (owner(s), tenant(s) or other       DIVERSITY
entity or persons responsible for the maintenance
of the property commonly known as The Home
Depot located at 3100 Hamilton Boulevard,
South Plainfield, New Jersey 07080 and/or other
entities or individuals responsible for snow/ice
removal at property commonly known as The
Home Depot, as aforementioned),

                     Defendant(s).
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TO THE CLERK OF THE UNITED STATES DISTRICT COURT, DISTRICT OF NEW
JERSEY:


       PLEASE TAKE NOTICE that Defendants HOME DEPOT USA, INC. i/s/h/a THE

HOME DEPOT USA (“Home Depot”), hereby submits this Petition for Removal, with full

reservation of all defenses, from the Superior Court of the State of New Jersey, County of

Middlesex, to the United States District Court, District Court of New Jersey in accordance with 28

U.S.C. §1446 and respectfully represents as follows:

             PLAINTIFF’S COMPLAINT AND NATURE OF THE ACTION

       1.      This action was commenced against THE HOME DEPOT USA, ABC COMPANY,

1-10 and JOHN/JANE DOES 1-10., in the Superior Court of the State of New Jersey, County of
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Middlesex, with the Docket Number MID-L-006674-21and was electronically filed November 18,

2021.

        2.     Pursuant to 28 U.S.C. §1446(a), a copy of the Summons and Complaint is attached

hereto as Exhibit “A.”

        3.     In his Complaint, Plaintiff alleges personal injuries from an alleged fall, which

occurred on January 19, 2020 at the Home Depot located at 3100 Hamilton Boulevard, South

Plainfield, New Jersey 07080. Plaintiff alleges that defendant’s premises was carelessly and

negligently owned, leased, managed, maintained, operated, and/or controlled said premises such

that the premises were dangerous and unsafe and the plaintiff was caused to fall thereupon. Exhibit

“A”

        4.     On November 30, 2021 Home Depot was served and the Affidavit of Service was

filed on December 6, 2021. Exhibit “B”

        5.     On March 23, 2022 Home Depot filed an Answer to the Plaintiff’s Complaint.

Exhibit “C”

                         DIVERSITY JURISDICTION IS PROPER

        6.     No further proceedings have been had in the Superior Court of the State of New

Jersey, Middlesex County, as of the date of the filing of this Petition for Removal.

        7.     This Court has original jurisdiction over this civil action pursuant to 28 U.S.C.

§1332. The Complaint alleges a matter in controversy, which, if liability is established, is

reasonably probable to exceed the sum or value of $75,000, exclusive of interest and costs and

complete diversity of citizenship exists between Plaintiff and Defendant.

                                     DIVERSITY EXISTS

        8.     This firm represents Defendant HOME DEPOT U.S.A., INC. in this action.




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       9.      At the time that this action was filed, Home Depot U.S.A, Inc., was and still is a

corporation organized and existing under the laws of the State of Delaware and having the principal

place of business at 2455 Paces Ferry Road SW, Atlanta, Georgia.

       10.     Pursuant to 28 U.S.C. section 1332(c), "a corporation shall be deemed to be a

citizen of any State by which it has been incorporated and of the State where it has its principal

place of business." For the purposes of federal diversity jurisdiction, based upon the above,

Defendant is not a citizen of the State of New Jersey.

       11.     The Plaintiff, in the Complaint, alleges to be a citizen of the State of New Jersey

with a residence in the County of Middlesex. Exhibit “A”

       12.     The “John/Jane Does 1-10” and “ABC Corporation 1-10” defendants do not affect

diversity under 28 U.S.C. §1441, which provides: “In determining whether a civil action is

removable on the basis of the jurisdiction under section 1332(a) of this title [28 U.S.C. §1332(a)],

the citizenship of defendants sued under fictitious names shall be disregarded.” 28 U.S.C. §

1441(b)(1) (Emphasis added). “[T]here is no doubt that in determining whether there is complete

diversity of citizenship we disregard the John Doe and Jane Doe defendants inasmuch as 28 U.S.C.

§ 1441(a) provides that for purposes of removal ‘the citizenship of defendants sued under fictitious

names shall be disregarded.” Brooks v. Purcell, 57 Fed. Appx. 47, 50 (3d Cir. 2002); see also

Gilbert v. Stepan Co., F. Supp. 2d 325, 330 (D.N.J. 1998).

       13.     There is complete diversity of citizenship between the parties to this action.

       14.     Therefore, this action may be removed to this Court pursuant to 28 U.S.C. §1441.

            THE AMOUNT IN CONTROVERSY REQUIREMENT IS SATISFIED

       15.     It is reasonably probable that Plaintiff seeks recovery for an amount in excess of

$75,000, exclusive of interest and costs. Plaintiff alleges that as a direct and proximate result of

the carelessness and negligence of the defendant(s), as aforesaid, the plaintiff sustained severe


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personal injuries, has and will suffer pain, has and will incur medical expenses, and has and will

be unable to engage in his usual occupation, duties, and activities, all to his damage. Exhibit “A”

       16.      On March 28, 2022, Plaintiff made a demand in the amount of $1 million in his

Statement of Damages. Exhibit “E”

       17.      Defendant submits that the allegations in the Complaint and the Plaintiff’s demand

made on March 28, 2022, proves to a “reasonable probability” that the claim is in excess of

[$75,000]. United Food & Commercial Workers Union, Local 919, AFL-CIO v CenterMark

Properties Meriden Square, Inc., 30 F.3d 298, 305 (2d Cir. 1994) (quoting Tongkook Am, Inc. v.

Shipton Sportswear Co., 14 F.3d 781, 784 (2d Cir. 1994).

       18.      Defendant reserves its right to contest the nature and extent of liability of plaintiff’s

damages. Nevertheless, if liability is ever established, the allegation that Plaintiff sustained serous

personal injuries, if proven, may convince a trier of fact to award such injured plaintiff an amount

in excess of $75,000.

                                     REMOVAL IS TIMELY

       19.      Pursuant to 28 U.S.C. §1446(b), which provides that a Notice of Removal shall be

filed within thirty (30) days after receipt by defendant, by service or otherwise, of the initial

pleading or of an amended pleading, motion, order or other paper from which it may first be

ascertained that the case is one which is or has become removable, this Petition for Removal is

timely filed.

       20.      Defendant learned of Plaintiff’s demand, a value that exceeded the jurisdictional

threshold, on March 28, 2022. The petition is filed within 30 days of service and within one year

of the filing of the initial pleadings. Removal is timely.




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                                             NOTICE

         21.    Pursuant to 28 U.S.C. §1446, a copy of this Notice of Removal is being filed with

the Superior Court of the State of New Jersey, County of Middlesex County.

                                       VENUE IS PROPER

         22.    The United States District Court for the DISTRICT OF NEW JERESEY includes

the county in which the state court action was pending (Middlesex County) and thus, pursuant to

28 U.S.C. §124(b)(2), venue is proper.

                         RESERVATION OF DEFENSES AND RIGHTS

         23.    Defendant reserve all defenses, including, without limitation, the defense of lack of

personal jurisdiction.

         24.    Defendant reserves the right to amend or supplement this Petition for Removal.

         25.    If any question arises as to the propriety of the removal of this action, Defendant

respectfully requests the opportunity to present a brief and oral argument in support of its position

that this case is removable.

         THEREFORE, all parties to the Civil Action pending in the Superior Court of the State

of New Jersey, County of Middlesex, Docket No. MID-L-006674-21 are HEREBY NOTIFIED

pursuant to 28 U.S.C. §1446 and Local Civil Rule 81.1, as follows:

         Removal of the Civil Action and all claims and causes of action therein is effected upon

the filing of a copy of this Notice of Removal with the Clerk of the State Court pursuant to 28

U.S.C. §1446. The Civil Action is removed from the State Court to the United States District

Court, District of New Jersey. The parties to the Civil Action shall proceed no further in the State

Court.




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       WHEREFORE, Defendant HOME DEPOT U.S.A., INC., i/s/h/a THE HOME DEPOT

INC., prays that this cause of action now pending in the Superior Court of the State of New Jersey,

Middlesex County, be removed to the United States District Court, District of New Jersey.


Dated: April 8, 2022


                                               MCVEY & PARSKY, LLC

                                         By:
                                               Michael N. Giacopelli
                                               Michael N. Giacopelli
                                               Attorney for Defendant
                                               HOME DEPOT U.S.A., INC. i/a/h/a
                                               THE HOME DEPOT USA
                                               466 Southern Boulevard
                                               Washington Building, 1st Floor
                                               Chatham, NJ 07928
                                               973-520-4340

TO:

Frank Lazzaro
Lutz, Shafranski, Gorman & Mahoney, P.A.
77 Livingston Avenue, PO Box 596
New Brunswick, NJ 08903




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                             CERTIFICATE OF SERVICE

The undersigned, a non-attorney, hereby certifies that he caused the PETITION FOR REMOVAL
OF ACTION UNDER 28 U.S.C. §1446(a) DIVERSITY and RULE 7.1 DISCLOSURE to be
served on Friday, April 08, 2022 via CM/ECF upon the attorneys of record for all parties.




                                               MCVEY & PARSKY, LLC


                                         By:   Michael N. Giacopelli
                                               Attorneys for Defendants
                                               HOME DEPOT U.S.A., INC.i/s/h/a
                                               THE HOME DEPOT, USA
                                               466 Southern Boulevard
                                               Washington Building, 1st Floor
                                               Chatham, NJ 07928




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